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                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                        SAN FRANCISCO DIVISION
20
      AMERICAN FEDERATION OF                                Case No. 3:25-cv-03698-SI
21
      GOVERNMENT EMPLOYEES, AFL-CIO, et
22    al.,                                                  PLAINTIFFS’ MOTION FOR
                                                            PRELIMINARY INJUNCTION
23             Plaintiffs,

24        v.

25    DONALD J. TRUMP, in his official capacity
      as President of the United States, et al.,
26
27             Defendants.

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 1                              MOTION FOR PRELIMINARY INJUCTION

 2          TO ALL DEFENDANTS: PLEASE TAKE NOTICE that on May 22, 2025, at 10:30 a.m. in

 3   Courtroom 1, 17th Floor, United States District Court, Northern District of California, located at 450

 4   Golden Gate Avenue, San Francisco, CA, all Plaintiffs will move the Court pursuant to Rule 65 of the

 5   Federal Rules of Civil Procedure and Rule 65-1 of the Civil Local Rules and this Court’s authority to

 6   “issue all necessary and appropriate process to postpone the effective date of an agency action or to

 7   preserve status or rights,” 5 U.S.C. §705, for a preliminary injunction as follows:

 8          1.      Enjoin and/or stay Defendants Office of Management and Budget (“OMB”), Office of

 9   Personnel Management (“OPM”), Department of Government Efficiency (“DOGE”), AmeriCorps,

10   Department of Agriculture, Department of Commerce, Department of Energy, Environmental

11   Protection Agency, General Services Agency, Department of Health and Human Services,

12   Department of Housing and Urban Development, Department of Interior, Department of Labor,

13   National Labor Relations Board, National Science Foundation, Peace Corps, Small Business

14   Association, Social Security Administration, Department of State, Department of Transportation,

15   Department of Treasury, and Department of Veteran Affairs and their agency heads named in their

16   official capacities as Defendants in this lawsuit, their officers, agents, servants, employees, and

17   attorneys, and all persons acting by, through, under, or in concert with these Defendants, from taking

18   any action to implement or enforce Sections 3(c) and (e) of Executive Order 14210, 90 Fed. Reg.

19   9669 (Feb. 11, 2025) or the OMB/OPM Memorandum re: Guidance on Agency RIF and

20   Reorganization Plans Requested by Implementing The Presidents “Department of Government

21   Efficiency” Workforce Optimization Initiative (Feb. 26, 2025), including but not limited to:

22          (a) any further OMB or OPM action to implement Sections 3(c) and (e) of Executive Order

23   14210 or the February 26, 2025 OMB/OPM Memorandum, including but not limited to approval or

24   disapproval of any federal agency Agency RIF and Reorganization Plans (“ARRPs”), whether

25   express or implied, formal or informal;

26          (b) any further orders, directives, or commands by DOGE to any federal agency to eliminate
27   programs, functions, or staff in conjunction with implementing Executive Order 14210, the

28   OMB/OPM Memorandum, or ARRPs, whether express or implied, formal or informal;

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 1          (c) any further implementation of Executive Order 14120, the OMB/OPM Memorandum, or

 2   ARRPs by Federal Agency Defendants, including but not limited to any of the following actions to

 3   the extent taken to implement Executive Order 14210and/or the OMB/OPM Memorandum:

 4          i.      the elimination or consolidation of programs or functions;

 5          ii.     transfer of functions or programs between any Federal Agency Defendants or to/from

 6          any other federal agency;

 7          iii.    execution of any existing reduction in force (“RIF”) notices including final separation

 8          of employees,

 9          iv.     issuance of any further RIF notices, and

10          v.      placement of employees on administrative leave.

11          2.       Further enjoin and/or stay Defendant DOGE by ordering DOGE to rescind and/or

12   take no further action to enforce any prior orders, directives, or commands to Federal Agency

13   Defendants regarding any aspect of ARRPs, including but not limited to RIFs or amounts of staff to

14   cut (whether communicated by way of target numbers of employees, positions, or amounts of

15   spending) or programs, functions, and offices to cut;

16          3.      Further enjoin and/or stay Federal Agency Defendants to rescind and/or take no

17   further action to enforce any prior action taken to implement Executive Order 14210 and/or the

18   OMB/OPM Memorandum and/or the ARRPs, including but not limited to rescinding any RIFs issued

19   to effectuate Executive Order 14210; restoring offices, programs, and functions previously eliminated

20   to effectuate Executive Order 14210; and transferring any federal employees previously moved into

21   administrative leave status to effectuate Executive Order 14210 back to the status they held prior to

22   implementation of the Executive Order;

23          4.      Further order that by no later than ________, 2025, Defendants shall provide to

24   Plaintiffs and the Court a proposed compliance plan that, at a minimum, identifies and describes all

25   actions previously taken to implement the EO at each covered agency and details the specific

26   proposed steps for implementation of this Court’s orders. Plaintiffs shall review and respond with
27   any objections or concerns. By no later than ________________, 2025, the parties shall jointly

28   submit an agreed upon plan for implementation of these orders, or, if agreement cannot be reached in

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 1   whole or part, Defendants shall submit their proposal as previously provided to Plaintiffs, and

 2   Plaintiffs shall submit their objections thereto.

 3           The Motion is made on the grounds that (1) Plaintiffs are likely to prevail on their claims that

 4   President Trump’s Workforce Executive Order No. 14210 is ultra vires and unconstitutional; that the

 5   actions of OMB, OPM, and DOGE to implement the Executive Order are ultra vires and violate the

 6   Administrative Procedure Act (“APA”), 5 U.S.C. §706(2)(A), (C), and that OMB and OPM failed to

 7   engage in notice-and-comment rulemaking as required under 5 U.S.C. §706(2)(D); and that the

 8   actions of the other Federal Agency Defendants named above to implement the Executive Order, the

 9   OMB/OPM Memorandum, and the ARRPs violate the Administrative Procedure Act, id. §706(2)(A),

10   (C); (2) that Plaintiffs will suffer irreparable injury unless the relief requested is granted; and (3) that

11   the balance of equities and public interest favor injunctive relief.

12           This Motion is supported by the accompanying Plaintiffs’ Memorandum in Support of Motion

13   for Preliminary Injunction; the Declarations listed in the accompanying Index of Evidence in Support

14   of Preliminary Injunction (including but not limited to the Supplemental Declaration of Jesus Soriano

15   (ECF 96-1)); Plaintiffs’ Memorandum in Support of Motion for Temporary Restraining Order and

16   Appendices, Reply Memorandum, Evidence, and Reply Evidence filed in support thereof; this

17   Court’s May 9, 2025 Order Granting Temporary Restraining Order and Compelling Certain

18   Discovery Production; the Complaint; the Amended Complaint; and the entire record in this case.

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